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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Carol Bunker, as Trustee for the
next-of-kin of Stephanie Rose Bunker,
                                                           Case No. 20-cv-1456 (SRN/LIB)
                       Plaintiff,
                                                           [PROPOSED] ORDER
v.                                                         APPROVING SETTLEMENT
                                                           DISTRIBUTION
Barb Fitzgerald, acting in her individual capacity
as a Beltrami County correctional officer, et al.,

                       Defendants.



     This matter is before the Court on Plaintiff’s Petition for Approval of Settlement

Distribution (Docket No. 31). Having carefully considered the Petition and based upon all

the files, records, and proceedings herein, IT IS ORDERED:

     1. The Petition (Docket No. 31) and the distributions proposed therein are

APPROVED;

     2. Distribution of the $2,250,000.00 settlement proceeds shall be made as follows:

        a.      $946,623.16 to Robins Kaplan LLP for attorneys’ fees and costs;

        b.      $101,250.00 to Paige Donnelly Ltd.;

        c.      $35,114.89 to be held in Robins Kaplan LLP’s Trust Account to satisfy

                Medicare’s subrogation interest. Any amount remaining after full satisfaction

                of Medicare’s subrogation interest shall be distributed evenly between Daniel

                Wade Keezer, Leroy Fairbanks, Jr., and Robert Edward Keezer;

        d.      $233,402.39 to Stephanie Rose Bunker’s son, Daniel Wade Keezer;
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       e.      $233,402.39 to Stephanie Rose Bunker’s son, Leroy Fairbanks, Jr.;

       f.      $233,402.39 to Stephanie Rose Bunker’s son, Robert Edward Keezer;

       g.      $233,402.39 to Stephanie Rose Bunker’s mother, Carol Bunker; and

       h.      $233,402.39 to Mutual of Omaha Structured Settlement Company by

       Minnesota Counties Intergovernmental Trust (MCIT), on behalf of Beltrami County,

       to fund a structured settlement annuity that will provide future periodic payments for

       C.E.K. (Payee), as follows:

                       $50,000.00 guaranteed lump sum payment on 4/14/2023;
                       $75,000.00 guaranteed lump sum payment on 4/14/2026; and
                       $125,055.39 guaranteed lump sum payment on 4/14/2030.

       Any payments to be made after the death of C.E.K. shall be made to the Estate of

C.E.K. or to such person or entity as shall be designated in writing by C.E.K., upon reaching

the age of majority.

       The obligation to make the periodic payments described herein will be assigned by

Minnesota Counties Intergovernmental Trust (MCIT) under the meaning of IRC Sec. 130,

to Mutual of Omaha Structured Settlement Company (the “Assignee”) and funded by an

annuity contract that will be issued by United of Omaha Life Insurance Company (the

“Annuity Issuer”).

                                           BY THE COURT:

Dated: _____________                       ________________________________
                                           Susan Richard Nelson
                                           United States District Judge




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